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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                     Case No.: '17CV1224 L       BGS
12                             Petitioner,         PETITION TO ENFORCE
             vs.                                   FALSE CLAIMS ACT
13                                                 CIVIL INVESTIGATIVE DEMAND
     ASG SOLUTIONS CORPORATION,
14   d.b.a. AMERICAN SYSTEMS GROUP,
15                             Respondent.
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17
18           The United States of America hereby petitions this Court, pursuant to
19   31 U.S.C. § 3733(j)(1), to issue an order enforcing the United States’ Attorney’s Civil
20   Investigative Demand No. 0457-0716-03 (the CID) compelling the recipient of that
21   demand, ASG Solutions Corporation, d.b.a. American Systems Group (Respondent),
22   to produce documents. The United States issued the CID in conjunction with an
23   investigation involving potential fraud. The United States must now seek judicial
24   enforcement of the CID because Respondent, despite receiving numerous extensions
25   of time and despite repeated assurances that it intended to comply with the demand,
26   has only made a partial response to the document demand.
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 1                                              I.
 2                              JURISDICTION AND VENUE
 3         1.     This Court has subject matter jurisdiction over this petition under
 4   31 U.S.C. § 3733(j). Venue is proper in this district under 31 U.S.C. § 3733(j) because
 5   Respondent is found and transacts business in this district.
 6                                              II.
 7                                           PARTIES
 8         2.     The United States Attorney’s Office (USAO) is conducting a false claims
 9   law investigation, within the meaning of 31 U.S.C. § 3733, to determine whether there
10   is or has been a violation of the False Claims Act (FCA). Specifically, the United
11   States is investigating whether Respondent and its principals submitted, or caused to
12   be submitted, to the United States government, false claims under contracts intended
13   to benefit historically underutilized business zones, which require contractors to
14   maintain a certain ratio of employees from those economically depressed areas,
15   pursuant to 15 U.S.C. § 657a, et seq.
16         3.     Respondent is a business providing workforce services to United States
17   government agencies through contracting opportunities obtained pursuant to
18   15 U.S.C. § 657a, et seq., including the Department of State, Department of Defense,
19   Department of the Navy, and the Department of the Air Force.
20                                             III.
21                                      BACKGROUND
22         4.     The FCA authorizes the Attorney General of the United States, or a
23   designee, to issue and serve CIDs to persons who may be in possession, custody, or
24   control of documents or information “relevant to a false claims law investigation.”
25   31 U.S.C. § 3733(a)(1). “False Claims Act CIDs allow the Department of Justice to
26   compel the production of documents . . . during a pre-complaint investigation of
27   potential fraud against the government.” United States v. Witmer, 835 F. Supp. 208,
28   211 (M.D. Pa. 1993) (internal definition omitted), aff’d, 30 F.3d 1489 (3d Cir. 1994).
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 1   “The purpose of the CID is to ‘enable the Government to determine whether enough
 2   evidence exist[s] to warrant the expense of filing [a civil] suit, as well as to prevent the
 3   potential Defendant from being dragged into court unnecessarily.’” Id. (quoting H.R.
 4   Rep. 660, 99th Cong., 2d Sess. 26 (1986)).
 5         5.     The FCA provides, in part, that a CID may require the recipient to produce
 6   documentary material. 31 U.S.C. § 3733(a)(1)(A)-(B). The statute further provides
 7   that if the recipient fails to comply with a CID issued under section 3733(a), “the
 8   Attorney General may file, in the district court of the United States for any judicial
 9   district in which such person resides, is found, or transacts business, and serve upon
10   such person a petition for an order of such court for the enforcement of the [CID].”
11   31 U.S.C. § 3733(j)(1).
12         6.     The USAO issued the CID on August 7, 2016. The original signed CID
13   was served on Respondent by mail on August 9, 2017. A true and correct copy of the
14   CID (redacted as to the names of third parties in CID Appendix B) is attached herein
15   as Exhibit 1. The CID required that Respondent produce documents relevant to the
16   investigation no later than thirty days from receipt of the CID.
17         7.     Respondent has been represented by Daniel P. Wierzba (Counsel) with
18   regard to the CID.
19         8.     At Counsel’s request, the USAO agreed to accept the required materials
20   in a rolling production over a few months.
21         9.     On October 11, 2016, Respondent provided partial production of
22   materials, many of which did not comply with Federal Rule of Civil Procedure 34 and
23   Part IV of the CID, Instruction 4, and CID Appendix A, all regarding production of
24   electronically stored information (ESI).
25         10.    On that date, the USAO notified Counsel by email that Respondent’s
26   initial production was not responsive for failure to comply in major part with ESI
27   production specifications, and requested production in compliance with the CID.
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 1         11.   On December 21, 2016, Respondent re-produced pages ASG100001
 2   through ASG120679 in response to the CID.
 3         12.   Upon review of the materials, the USAO notified Counsel by email on
 4   February 10, 2017, that it appeared that Respondent still had not responded to several
 5   of the items required in the CID. Reserving other compliance concerns about the
 6   production, the USAO noted in particular that no production was made in any form as
 7   to CID items 4, 14 through 17, 19, 20 and 22.
 8         13.   On February 10, 2017, Counsel contacted the USAO by telephone and
 9   stated that he was following up with Respondent regarding production of available
10   missing items, and stated that some omitted documents might not exist.
11         14.   On February 16, 2017, having received no further response from Counsel,
12   the USAO restated its request by email. In response to Counsel’s statement that
13   required documents might not exist, the USAO informed counsel that other documents
14   reference or presume the omitted information, and that omitted records were
15   sufficiently essential to Respondent’s business such that they would have existed
16   during the timeframes in question. The USAO offered examples of those instances:
17   while Respondent produced selected employee documents in response to items 1
18   through 3, the production omitted documents regarding employees referenced in other
19   materials such as payroll records. Likewise, Respondent only produced payroll records
20   from December 19, 2014, to September 23, 2016, while Respondent was in business
21   and had obtained Department of Defense contracts before December 2014 (e.g., June
22   2010, September 2013, and September 2014).
23         15.   On that date, Counsel’s firm notified the USAO by email that Counsel
24   was not available but would respond to the USAO as soon as possible.
25         16.   On March 6, 2017, having received no further response from Counsel, the
26   USAO contacted Counsel again by email to obtain a reliable date of production.
27         17.   On March 8, 2017, Counsel again acknowledged by telephone that further
28   responsive production was being prepared, but was delayed because Respondent’s
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 1   documents custodian was out of the country. Counsel agreed to produce “any and all”
 2   remaining available documents, and to provide explanation as to why any responsive
 3   documents could not be produced.
 4           18.   On April 17, 2017, having received no further response from Counsel, the
 5   USAO contacted Counsel again by email directing Respondent to produce all presently
 6   available documents immediately, even if further production was being prepared.
 7           19.   On May 4, 2017, Counsel informed the USAO by telephone that
 8   production was delayed because Counsel was terminating his employment with his
 9   firm, Seyfarth Shaw LLP, as of May 12, 2017, and would notify the USAO when
10   Respondent had determined who would provide further representation.
11           20.   On or about May 12, 2017, having received no further response from
12   Counsel, the USAO contacted Counsel by telephone. Counsel stated that he would
13   continue to represent Respondent and would contact the USAO by the end of that
14   month with a reliable production timeframe. The USAO repeated the instruction to
15   produce all available responsive documents in the meantime, and expressed concern
16   that an enforcement action would be required to complete production on the CID.
17   Counsel assured the USAO that an enforcement action would not be necessary.
18           21.   On June 6, 2017, having received no further response from Counsel, the
19   USAO repeated notice to Counsel by U.S. mail at Crowell & Moring LLP, Counsel’s
20   new firm on record with the California State Bar, that the United States’ next recourse
21   is to seek enforcement of the CID through this Court. See Exhibit 2.
22           22.   The United States has received no further response from Counsel or any
23   other representative on Respondent’s behalf, and has received no further production as
24   to the CID since December 2016.
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 1                                             IV.
 2                            GROUNDS FOR ENFORCEMENT
 3           A.    The Legal Standard
 4           23.   In the False Claims Act amendments of 1986, Congress gave the
 5   Department of Justice “a particular type of investigative tool, the false claims civil
 6   investigative demand, to enable it to investigate whether there is a basis for remedying
 7   a false claim made against the United States.” United States v. Markwood, 48 F.3d
 8   969, 976 (6th Cir. 1995).
 9           24.   In Markwood, the court likened a CID to an “administrative subpoena,”
10   and found that it may be enforced like other administrative subpoenas. Id. The court
11   reasoned that it would grant a petition for enforcement if the agency met the statutory
12   requirements pertaining to the issuance of the CID and if the agency had satisfied or
13   complied with the judicially-created standards for its enforcement. Markwood, at 976-
14   977.
15           25.   The scope of judicial inquiry in an agency subpoena enforcement
16   proceeding is narrow. EEOC v. Fed. Express Corp., 558 F.3d 842, 848 (9th Cir. 2009).
17   The three-part inquiry is (1) whether Congress has granted the agency authority to
18   investigate; (2) whether procedural requirements have been followed; and (3) whether
19   the evidence sought is relevant and material to the investigation. Id.
20           26.   As to the last prong, the Ninth Circuit has held that courts “must enforce
21   administrative subpoenas unless the evidence sought by the subpoena is plainly
22   incompetent or irrelevant to any lawful purpose of the agency.” Fed. Express, at 854.
23   Relevance is determined in terms of the investigation rather than as prospective trial
24   evidence; courts have therefore emphasized that the relevance prong of the inquiry is
25   “generously construed” and “not especially constraining” upon the investigating
26   agency. EEOC v. Shell Oil Co., 466 U.S. 54, 68 (1984); Fed. Express, at 854.
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 1         B.     The CID Should Be Enforced
 2                i.    The Department of Justice Has Authority to Investigate
 3         27.    Congress authorizes the Attorney General and its designees’ use of CIDs
 4   to require a recipient to produce documentary material as part of an FCA investigation.
 5   31 U.S.C. § 3733(a)(1)(A)-(B).
 6         28.    The United States is conducting an investigation involving potential
 7   procurement fraud; specifically, whether Respondent and its principals submitted, or
 8   caused to be submitted, to the United States government, false claims under contracts
 9   intended to benefit historically underutilized business zones, which require contractors
10   to maintain a certain ratio of employees from those economically depressed areas,
11   pursuant to 15 U.S.C. § 657a, et seq. This is a proper exercise of authority because a
12   government agency may “investigate merely on suspicion that the law is being violated,
13   or even just because it wants assurance that it is not.” United States v. Morton Salt
14   Co., 338 U.S. 632, 642-43 (1950); FDIC v. Garner, 126 F.3d 1138, 1142 (9th Cir.
15   1997); Santa Fe Energy Products Co. v. McCutcheon, 90 F.3d 409, 414 (10th Cir.
16   1996). Thus, it is well within the USAO’s authority under 31 U.S.C. § 3733(a)(1) to
17   issue the CID. “[L]aw-enforcing agencies have a legitimate right to satisfy themselves
18   that corporate behavior is consistent with the law and the public interest.” Morton Salt,
19   338 U.S. at 652.
20                ii.   Procedural Requirements Have Been Followed
21         29.    The CID was served on Respondent by mail on or about August 9, 2016.
22   See Exhibit 1. Respondent raised no objection to the CID.
23         30.    Respondent’s CID production remains incomplete.           Respondent has
24   omitted documents regarding, but not necessarily limited to, CID items 1, 2, 3, 5, 9, 10,
25   13, and 18, and any documents as to CID items 4, 14 through 17, 19, 20, and 22. In
26   efforts to meet and confer, the USAO informed Respondent that other documents
27   reference information that Respondent omitted, and other omitted information was so
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 1   essential to Respondent’s business that it would have been generated during the
 2   timeframes in question.
 3           31.   After the USAO attempted to further meet and confer with Respondent
 4   short of enforcement, Respondent agreed to complete production. Respondent has
 5   informed the USAO multiple times since February 10, 2017, that such production was
 6   being prepared. None has been forthcoming.
 7                 iii.   The Evidence is Relevant and Material to the Investigation
 8           32.   Lastly, and also without objection, the CID requires documentation
 9   regarding whether Respondent and its principals submitted, or caused to be submitted,
10   to the United States government, false claims under contracts intended to benefit
11   historically underutilized business zones, which require contractors to maintain a
12   certain ratio of employees from those economically depressed areas, pursuant to
13   15 U.S.C. § 657a, et seq. See Exhibit 1.
14                                              V.
15                                       CONCLUSION
16           33.   Respondent has failed to comply with the CID despite extended times for
17   production and multiple promises to comply, and has left the United States with no
18   recourse except to file this petition for an order enforcing the CID.
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 1                                             VI.
 2                                  PRAYER FOR RELIEF
 3         WHEREFORE, the United States, pursuant to authority granted under
 4   31 U.S.C. § 3733(j)(1)-(5), respectfully requests this Court to order:
 5         (a)    That within fourteen (14) business days of the date of such order,
 6                Respondent shall fully comply with the United States’ Attorney’s Civil
 7                Investigative Demand No. 0457-0716-03, including but not limited to
 8                production of any and all documents described in items 1 through 5, 9, 10,
 9                13 through 20, and 22 of that Demand;
10         (b)    That Respondent shall, upon completion of its production, confirm in
11                writing and under penalty of perjury that all documents responsive to Civil
12                Investigative Demand No. 0457-0716-03 have been produced; and,
13         (c)    Such other and further relief as the Court may deem just and proper.
14
15                                                   Respectfully submitted,
16   DATED: June 16, 2017                            ALANA W. ROBINSON
17
                                                     Acting United States Attorney

18                                                   s/ Douglas Keehn
                                                     DOUGLAS KEEHN
19                                                   Assistant U.S. Attorney
20                                                   Attorneys for Defendant

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